                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA                                     。
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                                ASHEVILLE DIVISION                                  脚


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                                    DOCKET NO.1:14CR29
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UNITED STATES ttF AMERICA,

                       Plaintl範
                                                           CONSENT ORDER AND
               V.                                        JUDGMENT OF FOWEITURE
9)GERALD WILLIAM LOCKLEAR,
                       Defendant.



        WHEREAS, the defendant, GERALD WILLIAM LOCKLEAR, has entered into a plea
agreement (incorporated by reference herein) with the United States and has voluntarily pleaded
guilty pursuant to Federal Rule of Criminal Procedure 1 1 to one or more criminal offenses under
which forfeiture may be ordered;

        WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the offbnses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 21 U.S.C. S 853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject
to forfeiture pursuant to 21 U.S.C. S 853 and/or 18 U.S.C. S 982, provided, however, that such
forfeiture is subject to any and all third party claims and interests, pending final adjudication
herein;

        WHEREAS, the defendant herein waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

        WHEREAS, pursuant to Federal Rules of Criminal Procedure 32.2(b)(1) & (c)(2), the
Court finds that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest in the
property;

       WHEREAS, the defendant withdraws any claim previously submiued in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives all




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right to do so. Ifany administrative forfeiture or civil forfeiture proceeding conceming any of the
property described below has previously been stayed, the defendant hereby consents to a lifting of
the stay and consents to lorleiture:

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order ofthis Court No. 3:05MC302-C (September 8, 2005);

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       The following property is forfeited to the United States:

a. the sum of approximately $10,654.44 in United States currency in Bank of America
Account ending 5079 in the name of Gerald Locklear frozen on December 17,2012 dunng
the course of the investigation;

b.     the sum of approximately $18,065.85 in United states currency seized on December
17,2012 from the octopus Garden store at 1269 Tunnel Road in Asheville, North carolina
during the course of the investigation;

c.     the sum of approximately $25,371.35 in United States currency seized on I)ecember
17,2012 from the Octopus Garden store at 140 Airport Road in Arden, North Carolina
during the course of the investigation;

d. the sum of approximately $62,785 in united states currency seized on December 17,
2012 from the Octopus Garden store at 660 Merrimon Avenue in Asheville, North Carolina
during the course of the investigation;

e.     the sum ofapproximately $237,808 in United States currency seized on December 17,
2012 from the octopus Garden store at 1062 Patton Avenue in Asheville, North carolina
during the course of the investigation;

f.    the sum of approximately $37153.80 in united States currency seized on December
17,2012 from the Octopus Garden store at 2000 Spartanburg Highway, Suite 300, in
Hendersonville, North Carolina during the course of the investigation;

g.    a 2011, GMC Acadia Denali, with VIN #f GKKRTED1BJ3S7510, registered in the
name of Gerald Locklear, and seized on December 17,2012 from 634 North Louisiana
Avenue in Asheville, North Carolina during the course of the investigation;

h.     a 2008 Chevrolet Uplander, with VIN#1GNDVZ3W4&DI7Z37&,         registered in the
name of octopus Garden LLC, and seized on December 17,2012 from the octopus Garden
store at 1062 Patton Avenue in Asheville, North Carolina during the course ofthe
investigation;
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       a 2011 GMC Sierra Crew, with VIN #3GTP2WE368G256575, registered in the name
of Octopus Garden LLC, and seized on December 17,2012 from the Octopus Garden store
at 1062 Patton Avenue in Asheville, North Carolina during the course ofthe investigation;

j.    a 2012 GNIC Acadia, with VIN #1GKKVTED6CJI93524, registered in the name of
Octopus Garden LLC, and seized on December 17,2012 from the Octopus Garden store at
1062 Patton Avenue in Asheville, North Carolina during the course ofthe investigation;

k.     drug paraphernalia, to include glass smoking pipes, seized on December 17,Z0l2
from the octopus Garden Store at 1269 Tunnel Road in Asheville, North carolina during
the course of the investigation;

l.     drug paraphernalia, to include glass smoking pipes, seized on December 17,2012
from the octopus Garden Store at 140 Airport Road in Arden, North carolina during the
course of the investigation;

m.     drug paraphernalia, to include glass smoking pipes, seized on December 17,2Ol2
from the octopus Garden Store at 660 Merrimon Avenue in Asheville, North carolina
during the course of the investigation;

n.     drug paraphernalia, to include glass smoking pipes, seized on December 17,,2012
from the Octopus Garden Store at 80 North Lexington Avenue in Asheville, North Carolina
during the course ofthe investigation;

o.     drug paraphernalia, to include glass smoking pipes, seized on December 17,,2012
from the Octopus Garden Store at 1062 Patton Avenue in Asheville, North Carolina during
the course of the investigation;

p.     drug paraphernalia, to include glass smoking pipes, seized on December 17,2012
from the octopus Garden store at 2000 Spartanburg Highway, suite 300, in Hendersonville,
North Carolina during the course of the investigation; and

q.     drug paraphernalia, to include glass smoking pipes, seized on December 17,2012
from the Octopus Garden Store at 210 Rosman Highway, Suite C, in Brevard, North
Carolina during the course of the investigation;

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

        If and to the extent required by Fed. R. Crim. P. 32.2(b)(6),21 U.S.C. g 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days ofthe publication ofnotice or the receipt ofnotice, whichever is earliir, petition




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the court for a hearing to adjudicate the validity ofthe alleged interest.

        Pursuant to Rule 32.2(b)(3) ofthe Federal Rules of Criminal Procedure, upon entry ofthis
Order of Forfeiture, the United States Attorney's Office is authorized to conduct any discovery
needed to identifr, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Rule 45 ofthe Federal
Rules of Civil Procedure.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. crim. P.32.2(c)(2).If no third party files a timely petition,
this order shall become the final order andjudgment offorfeiture, as provided by Fed. R. crim. p.
32.2(c)(2), and the united States shall have clear title to the property, and shall dispose of the
property according to law. Pursuant to Rule 32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant upon filing.




SO AGREED:



THOMAS M KENT
Assistant United States Attomey




   RALD WILLIAM LOCKLEAR
Defendant




       Signed this    「
                     t、        day of鍮 2014
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                                      United States Magistrate Judge
                                      Westem District of North Carolina




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